 Mitch Taebel
 LaPorte County Jail
 809 State Street
 La P01ie, IN 46350




Case 3:23-mc-00054-KAC-JEM Document 3 Filed 08/24/23 Page 1 of 6 PageID #: 7
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE



    V.                                  Case No.: 3:23-mc-00054-KAC-JEM




                                            NOTICE of Deficiency (IFP)

        The Cou11 is in receipt of your complaint/petition. However, in order for this matter to proceed, you must
    either pay the required filing fee or submit (I) an application to proceed in forma pauperis without
    prepayment of fees and (2) a ce11ified copy of your inmate trust account for the previous six-month period.
    Pursuant to E.D. Tenn. L.R. 4.5, this matter will be administratively closed if the deficiency is not cured
    within twenty days.




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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)


                                        UNITED STATES DISTRICT COURT
                                                                           for the



                                                                              )
                          PlaintifflPetilioner                                )
                                   V.                                         )      Civil Action No.
                                                                              )
                         Defendant/Respondent                                 )


       APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                       (Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

          In support of this application, I answer the following questions under penalty of pe1jury:

          I. {f incarcerated. I am being held at:
                                                  -------------------------
1f employed there, or have an account in the institution, I have attached to this document a statement ce1tified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

          2. If not incarcerated. !fl am employed, my employer's name and address are:




My gross pay or wages are: $ - - - - - - - , and my take-home pay or wages are: $ _ _ _ _ _ _ _ per
 (specijj, pay period)

          3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

       (a) Business, profession, or other self-employment                            0   Yes                0 No
       (b) Rent payments, interest, or dividends                                     0   Yes                0 No
       (c) Pension, annuity, or life insurance payments                              0   Yes                0 No
       (d) Disability, or worker's compensation payments                             0   Yes                0 No
       ( e) Gifts, or inheritances                                                   0   Yes                0 No
       (t) Any other sources                                                         0   Yes                0 No

         lfyou answered "Yes" to any question above, describe below or on separate pages each source of money and
state the amount that you received and ·what you expect to receive in the fi1ture.




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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)



          4. Amount of money that l have in cash or in a checking or savings account: $
                                                                                                                 -----------
        5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else's name (describe the property and ils approximale
value):




          6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):




        7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:




          8. Any debts or financial obligations (describe !he amounls owed and to whom !hey are payable):




       Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.


Date:
                                                                                                            Applicant's signature



                                                                                                               Printed name




  Case 3:23-mc-00054-KAC-JEM Document 3 Filed 08/24/23 Page 4 of 6 PageID #: 10
                                             CERTIFICATE

                           TO BE COMPLETED BY AN AUTHORIZED
                             CUSTODIAN OF INMATE ACCOUNTS

           I certify that the applicant herein has the sum of$ _ _ _ _ on account to his/her credit

   at the _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (institution where the

   applicant is currently incarcerated). I further certify that the average balance in the applicant's

   trust fund account during the last six months was$ _ _ _ _ _ . A copy of the applicant's

   trust fund account (or an institutional equivalent) for the last six months is attached hereto.




                                                          Signature of Authorized Officer


   Sworn to and subscribed before me this
   ___ day of _ _ _ _ _ , 2_ __




   Notary Public

   My commission expires _ _ _ _ _ _ __




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UNITED STATES DISTRICT COURT
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